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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MARYLAND
                          GREENBELT DIVISION

EBLAL ZAKZOK,                           )
et al.,                                 )
                                        )
              Plaintiffs,               )      Case No. 17-CV-2969
                                        )      Judge Chuang
       v.                               )      Consolidated with
DONALD J. TRUMP,                        )      Cases Nos. 17-CV-361, 17-CV-2921
in his official capacity as President   )
of the United States, et al.,           )
                                        )
              Defendants.               )
                                        )

                            NOTICE OF APPEARANCE

       Justin Sadowsky provides notice that he is entering his appearance for the

Zakzok Plaintiffs.


August 21, 2019                         Respectfully submitted,

                                        /s/ Justin Sadowsky
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